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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 17-20459-CIV-KING

DESIREE MARENGO, individually and
on behalf of all others similarly situated,

Plaintiff,
Vv.

MIAMI RESEARCH ASSOCIATES,
LLC, a Florida corporation doing
business as OPS Miami Research
Associates,

Defendant.

 

ORDER CHANGING THE PLACE OF FAIRNESS HEARING RE:
PRELIMINARY APPROVAL CLASS ACTION SETTLEMENT

THIS MATTER comes before the Court upon sua sponte. After careful review and being
fully advised in the premises thereof, it is hereby
ORDERED, ADJUDGED, and DECREED that the place of the Fairness Hearing re:

Preliminary Approval of Class Action Settlement is hereby changed and the respective parties

are hereby required to appear (both counsel is not required) before the Court on Thursday,

April 26, 2018 at 10:00 a.m. at the Wilkie D. Ferguson Federal Courthouse, 400

North Miami Avenue, 13" Floor, Courtroom 13-1, Miami, FL.
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DONE and ORDERED in Chambers at the James Lawrence King Federal Justice

Building and United States Courthouse, Miami, Florida, dated this 17" day of April,

 

2018.
JAMESLAWRENCE KING),
UNITED STATES DISTRICT JUDGE
SOUTHERN DISTRICT OF FLORIDA
CC:

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